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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                                                                   Case # 18-CR-6094-FPG
v.

                                                                   DECISION AND ORDER
XAVIER TORRES,
                              Defendant.
________________________________________________


                                      INTRODUCTION

       On November 4, 2021, after a three-week jury trial, Defendant Xavier Torres was found

guilty of: (1) one count of conspiracy to possess with intent to distribute and/or to distribute,

cocaine and/or heroin in violation of Title 21, United States Code § 846; and (2) one count of

knowing and unlawful use or carry of firearms during and in relation to, or possession of firearms

in furtherance of, a drug trafficking crime in violation of Title 18, United States Code §

924(c)(1)(A)(i), (ii), (iii), and 2. ECF No. 663. During the trial, the Government noticed Victor

Nunez (“Nunez”) as a witness, but did not call him.

       On January 4, 2022, Defendant filed a Statement with Respect to Sentencing Factors,

raising several objections to the Presentence Investigation Report prepared by United States

Probation. See ECF No. 689. In response to those objections, the Government requested a

sentencing hearing to provide it an opportunity to “present cooperating/accomplice witness

testimony demonstrating the defendant’s direct participation in the John Gonzalez murder.” ECF

No. 690. The Court granted that request. Id.

       In advance of the sentencing hearing, Defendant Xavier Torres filed a motion seeking, inter

alia, the disclosure of mental health records of Nunez from “any mental health providers during
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his incarceration as potential Brady material for the defense in accordance with the Fifth and Sixth

amendments to the United States Constitution.” ECF No. 701 at 1 (sealed document). In support

of his motion, Defendant cited several examples from the Government’s Jencks disclosures which

he asserted “raise serious issues as to [Nunez’s] mental capacity, recollection, memory recall,

truthfulness, and other areas which are legitimate areas of cross-examination of the witness.” Id.

at 4. Further, Defendant argued that these records “are relevant and material to the credibility and

veracity of this witness and said records have not been produced by the [G]overnment as a part of

the Jencks materials.” Id. Thus, Defendant requested that the Court order (1) the production of

“all mental health records in [the Government’s] possession of Victor Nunez for in camera

review”; (2) disclosure of “all facilities where the witness has resided so that jail and counseling

records from each institution can be sought for in camera review”; and (3) “[f]or the release of said

records to the defense after an in camera review has been conducted.” Id. at 6-7.

       The Court held the sentencing hearing on March 16, 2022, March 24, 2022, and March 31,

2022. ECF No. 704; ECF No. 710; ECF No. 714. On March 24, 2022, the Court granted

Defendant’s request for the mental health records insofar as it ordered them to be produced to the

Court for in camera review prior to their disclosure to the Defendant. ECF No. 710. During the

course of the multi-day hearing, Defense Counsel thoroughly cross-examined Nunez regarding his

mental health history and conditions, his mental health treatment while incarcerated, any head

injuries he may have suffered after a motorcycle accident, and the affects of his mental health

conditions on his well-being and function.

       On March 31, 2022, Defendant submitted subpoenas to produce Nunez’s mental health

records pursuant to Federal Rule of Criminal Procedure 17 relative to Alleghany County Jail,

Livingston County Jail, Seneca County Jail, and Chautauqua County Jail, along with a Proposed



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Order. That same day, the Court issued an Order directing the facilities to submit Nunez’s mental

health records to the Court for in camera review and directing Defendant’s attorney to serve each

of the subpoenas on the respective jails. 1 ECF No. 716 (sealed). The Court set a status conference

in this matter for April 27, 2022, to provide the Court an opportunity to receive and review the

subpoenaed records and determine whether further proceedings related to the sentencing hearing

are necessary. See ECF No. 710.

        The Court has received records from Alleghany County Jail, Livingston County Jail (which

also included third-party provider records), Seneca County Jail, and Chautauqua County Jail and

has completed in camera review of those records.

                                               DISCUSSION

        “It is normal practice for the trial court to review [psychiatric records] in camera to

ascertain if the report contains any relevant information for the purposes of cross-examination.”

Viera v. Sheahan, 16-CV-4048(KAM), 2020 WL 3577390, at *6 (E.D.N.Y. June 30, 2020)

(alteration in original) (citation omitted).

        The Court has reviewed all records received and considered whether they contain

information that is likely related to credibility and whether any of the records raise issues related

to Nunez’s “recollection, memory recall, truthfulness, and other areas which are legitimate areas

of cross-examination” as requested by Defendant. ECF No. 701 at 4 (sealed). During its review,

the Court found no evidence in the records of “deep or sustained mental problems which would

directly bear upon the credibility of the witness.” See United States v. Marcus, No. 05 CR 457,

2006 WL 8446893, at *2-3 (E.D.N.Y. Dec. 6, 2006) (finding that defense counsel was “not entitled



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  The Court subsequently issued an Amended Order which provided additional information regarding the return of
records to the jails and citations to relevant statutes related to the privacy protections. ECF No. 718.


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to complete access” to psychiatric records “but only to the aspects of the records that are

exculpatory or relevant for impeachment purposes”).        Nor did the Court find any relevant

information regarding Nunez’s recollection, memory recall, or any other pertinent areas of

potential cross-examination. Indeed, nothing in the mental health records suggests that Nunez’s

ability to testify was hampered in any way by his mental health, therefore prevention of the use of

these records for cross-examination is entirely appropriate. See Viera, 2020 WL 3577390, at *6

(“The trial judge reviewed [the witness’s] psychiatric record, made a determination that [the

witness’s] ability to testify would not be affected by any mental health condition, and thus

prevented use of the record for cross-examination. Trial judges in both federal and state court

routinely make similar determinations, which are squarely within their discretion.”).

       Any potential concerns are further ameliorated by Defense Counsel’s thorough cross-

examination of Nunez. During his questioning, Counsel delved into Nunez’s specific mental

health conditions and how those conditions affect his functioning. He also asked Nunez about a

motorcycle accident in which he sustained injuries to determine whether that incident led to any

issues with Nunez’s memory or recall. Thus, this case does not present a scenario where “the

defense was unaware of the witness’s mental health issues or the withheld documents revealed

information previously unknown or not otherwise discoverable upon further investigation.” See

McCray v. Capra, No. 15-cv-1129, 2018 WL 3559077, at *11 (N.D.N.Y. July 24, 2018)

(collecting cases where “a witness’s withheld mental health records and evaluations were deemed

sufficiently material to warrant habeas relief”). Here, Defense Counsel was “on notice” of Nunez’s

mental health history and had a substantial opportunity during cross-examination to gain “insight

into how those diagnoses affected [his] past behavior.” Id.




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       Accordingly, the Court finds, after conducting in camera review, that the records do not

contain any evidence that bears upon Nunez’s credibility or is otherwise relevant or material and

subject to disclosure under Brady or Jencks.

                                        CONCLUSION

       For the foregoing reasons, Defendant’s motion for release of the subpoenaed records is

DENIED.

       IT IS SO ORDERED.

DATED:        April 26, 2022
              Rochester, New York




                                               ______________________________________
                                               HON. FRANK P. GERACI, JR.
                                               United States District Judge
                                               Western District of New York




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